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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                             CASE NO. 1:05-cr-00028-MP-AK

JAMES ROOSEVELT DARBY, JR,

      Defendant.
___________________________/

                                           ORDER

       This matter is before the Court on Doc. 98, Motion to Correct Judgment. In the motion,

Mr. Darby asks the Court "to amend its Judgement to recommend that the Defendant received

credit for time served from July 28, 2005 to December 1, 2006." As stated in Defendant's own

motion, however, he was released from custody on July 29, 2005, and placed on pre-trial release.

Thus, no credit for time served is due, and the motion is denied.


       DONE AND ORDERED this 5th day of January, 2007


                                       s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
